                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JESSICA MADRID, individually, and on
 behalf of all others similarly situated,
                                                       Case No. 20-cv-00587
       Plaintiff,

 v.
                                                       Honorable Edmond E. Chang
 US ENERGY SOLUTIONS, INC.,

       Defendant.

                                MOTION TO QUASH SERVICE

           NOW COMES Plaintiff Jessica Madrid (“Plaintiff”), by and through her undersigned

 counsel, moving this Court for an order quashing service and directing the Clerk to issue an Alias

 Summons, and in support thereof, stating the following:

      1. On January 27, 2020, Plaintiff filed the instant class action against US Energy Solutions,

Inc. (“USES”) alleging violations of the Telephone Consumer Protection Act (“TCPA”). [Dkt. 1]

      2. On February 4, 2020, Plaintiff served an entity with the identical name of Defendant

(“wrong USES entity”).

      3. On February 7, 2020, Plaintiff, believing she served the correct entity, filed a proof of

service with the Court. [Dkt. 7]

      4. On February 24, 2020, counsel for the wrong USES entity filed their respective

appearances.

      5. Upon further investigation and lengthy dialogue between Plaintiff’s counsel and counsel

for the wrong USES entity, Plaintiff discovered that although she sued the correct entity, she served

the incorrect USES entity.




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   6. Accordingly, Plaintiff is seeking to quash service on the wrong USES entity and effectuate

service on the correct USES entity.

   7. Plaintiff conferred with counsel for the wrong USES entity and the wrong USES entity has

no objection to the relief sought herein.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order

(1) quashing service on the wrong USES entity [Dkt. 7]; (2) dismissing the wrong USES entity

without prejudice; (3) striking all responsive pleading deadlines associated with the wrong USES

entity; (4) directing the Clerk to issue an Alias Summons so Plaintiff can effectuate service on the

correct USES entity; and (5) providing any further relief the Court deems just and appropriate.

Dated: May 5, 2020                                   Respectfully submitted,

                                                     s/ Mohammed O. Badwan
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